                               No. 2024-1285

          UNITED STATES COURT OF APPEALS
             FOR THE FEDERAL CIRCUIT
                                 APPLE INC.,
                                                              Appellant,
                                     v.
                      INTERNATIONAL TRADE COMMISSION,
                                                           Appellee,
              MASIMO CORPORATION, CERCACOR LABORATORIES, INC.,
                                                        Intervenors,

       On Appeal from the United States International Trade Commission
                     in Investigation No. 337-TA-1276

     APPELLANT APPLE INC.’S RESPONSE TO APPELLEE
 INTERNATIONAL TRADE COMMISSION’S AND INTERVENORS
MASIMO CORPORATION AND CERCACOR LABORATORIES, INC.’S
MOTION FOR AN EXTENSION OF TIME TO FILE RESPONSE BRIEFS


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May 3, 2024                                Attorneys for Appellant Apple Inc.
      As Appellant Apple Inc. informed Appellee International Trade Commission

(“Commission”) and Intervenors Masimo Corporation and Cercacor Laboratories

Inc. (“Masimo”) yesterday, Apple does not oppose their motion for a 44-day

extension of time to file their response briefs, from May 15, 2024 to June 28,

2024—provided those parties do not later oppose Apple’s planned motion to

expedite oral argument. Apple made that offer even though the Commission and

Masimo had failed to provide specific and concrete grounds supporting their

request. Notwithstanding that failure, as a professional courtesy to the other

parties—and in the interest of ensuring all sides have the necessary time to fully

brief the issues before the Court—Apple does not oppose the extension. At the

same time, any extensions on briefing should not prejudice Apple’s planned

request to expedite oral argument.

      As Apple explained at length in its briefing in support of its motion for an

emergency stay pending appeal (Stay Br. 18-23, Reply Br. 9-11), the ITC’s current

remedial orders preclude Apple from selling Apple Watch with pulse oximetry,

thereby depriving U.S. consumers of the health, wellness, and safety benefits

associated with being able to measure their blood oxygen on demand. As Apple

has explained in its opening brief, Apple believes that there are very serious flaws

in the Commission opinion that require its reversal and vacatur. Accordingly, this

matter warrants an expedient resolution to return this important health-and-

wellness feature to consumers and researchers.
                                        -1-
      Notwithstanding the need for expedient resolution, Apple apprised both

Masimo and the Commission that it would consent to a reasonable extension based

on professional conflicts as a matter of courtesy. Yet neither Masimo nor the

Commission provided any concrete information about such professional conflicts

to support the 44-day extension sought here. Indeed, the declarations attached to

the motion fail to identify the dates of any conflicts, which parties routinely

provide in support of such requests. Mr. Re’s declaration merely includes a list of

cases in which Mr. Re and/or his colleagues are involved, without reference to any

specific deadlines. Re Decl. ¶2. Likewise, Mr. Traud’s declaration references a

planned vacation without identifying the dates on which he will be traveling or

explaining why a planned vacation would necessitate a 44-day extension. Traud

Decl. ¶3.

      Even in the absence of the most basic information supporting an extension

of time, Apple offered to consent to the proposed extension if Masimo and the

Commission would agree not to oppose Apple’s forthcoming motion for expedited

setting of oral argument. But again, Masimo and the Commission rejected that

offer, explaining only that other unspecified conflicts could arise that would cause

them to oppose such a motion.

                                  CONCLUSION

      In short, Apple submits that the public interest implications and strength of

Apple’s merits arguments warrant expeditious resolution of the present appeal.
                                         -2-
Apple requests that any extension in the briefing schedule not be held against it

when it later seeks expedited oral argument.



                                               Respectfully submitted,

                                               /s/ Mark D. Selwyn
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                                               Attorneys for Appellant Apple Inc.

May 3, 2024




                                        -3-
                           CERTIFICATE OF INTEREST

       Counsel for Appellant Apple Inc. certifies the following:

        1.     Represented Entities. Fed. Cir. R. 47.4(a)(1). Provide the full names
of all entities represented by undersigned counsel in this case.

       Apple Inc.

        2.     Real Party in Interest. Fed. Cir. R. 47.4(a)(2). Provide the full names
of all real parties in interest for the entities. Do not list the real parties if they are the
same as the entities.

       None.

      3.     Parent Corporations and Stockholders. Fed. Cir. R. 47.4(a)(3).
Provide the full names of all parent corporations for the entities and all publicly held
companies that own 10% or more stock in the entities.

       None.

       4.    Legal Representatives. List all law firms, partners, and associates that
(a) appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already entered
an appearance in this court. Fed. Cir. R. 47.4(a)(4).

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Thomas Anderson, James Bor-Zale, Alison Burton, David L. Cavanaugh, Jennifer
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David Gringer, Vikram Iyer, Brian Jacobsmeyer (former), Julius Jefferson
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                                            -i-
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WEIL, GOTSHAL & MANGES LLP: Mark Perry

       5.     Related Cases. Other than the originating case(s) for this case, are
there related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?

 X Yes (file separate notice; see below)             No        N/A (amicus/movant)

If yes, concurrently file a separate Notice of Related Case Information that complies
with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate Notice
must only be filed with the first Certificate of Interest or, subsequently, if
information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).

Already filed.

      6.    Organizational Victims and Bankruptcy Cases. Provide any
information required under Fed. R. App. P. 26.1(b) (organizational victims in
criminal cases) and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R.
47.4(a)(6).

      None.

Dated: May 3, 2024                               /s/ Mark D. Sewlyn
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                                        - ii -
           CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
                           LIMITATIONS

      The foregoing filing complies with the relevant type-volume limitation of

the Federal Rules of Appellate Procedure and Federal Circuit Rules because:

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